 8:06-cr-00153-LSC-TDT           Doc # 63   Filed: 07/21/06   Page 1 of 1 - Page ID # 85




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )               8:06CR153
      vs.                                      )
                                               )                 ORDER
JAIME RAMOS GONZALEZ,                          )
                                               )
                    Defendant.                 )


      The defendant has filed a Motion to Continue Trial [62] due to ongoing plea
negotiations. The defendant has already been given an extension of time for this purpose.
Considering the case history, the court believes the parties have been given adequate time
to conduct plea negotiations, and the court's calendar cannot accommodate the
defendant's request. Nor has the defendant filed a waiver of speedy trial as required by
NECrimR 12.1. For these reasons,

      IT IS ORDERED that defendant's motion to continue trial [62] is denied.

      DATED July 21, 2006.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
